               Case 5:25-cv-00917-SSS-SHK
Name and address:
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                                                               #:82
Christian Contreras, Esq. (SBN 330269)
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360 E. 2nd. St., 8th Fl., Los Angeles Ca 90012
Tel: (323) 435-8000; E-Mail: cc@Contreras-Law.com

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

                                                                             CASE NUMBER
ANTHONY WRIGHT, eta!.,
                                                         Plaintiff( s),                                 S:25-cv-917 -SSS-SHK

                   V.

SAN BERNARDINO COUNTY SHERIFF's DEPARTMENT, et                                 APPLICATION OF NON-RESIDENT ATTORNEY
al,.                                                                                 TO APPEAR IN A SPECIFIC CASE
                                     Defendant( s),                                         PROHACVICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, the certification in Section II, and have the
    designated Local Counsel sign in Section III. Space to supplement responses is provided in Section IV. The applicant must also attach a
    Certificate of Good Standing (issued within the last 30 days) from every state bar to which he or she is admitted; failure to do so will be
    grounds for denying the Application. Scan the completed Application, together with any attachment(s), to a single Portable Document
    Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings=> Applications/Ex Parte Applications/Motions/Petitions/Requests=> Appear Pro Hae Vice (G-64) "), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time of filing (using a credit
    card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
    attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPeifect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Harton, Samantha A.
Applicant's Name (Last Name, First Name & Middle Initial)                                           check here iffederal government attorney □
Romanucci and Blandin, LLC
Firm/Agency Name
321 N. Clark Street                                                       312-253-1000                          213-253-1004
STE 900                                                                   Telephone Number                      Fax Number
Street Address
Chicago, IL 60654                                                                                   harton@rblaw.net
City, State, Zip Code                                                                                 E-mail Address

I have been retained to represent the following parties:
Anthony Wright, Nicoya Wright, L.W., H.W., & A.G.                         1K]Plaintiff(s) D Defendant(s) D Other:
                                                                                                                       ---------
                                                                          □ Plaintiff(s)   D Defendant(s) D Other: ---------
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                   Name of Court                        Date of Admission             Active Member in Good Standing? (if not, please explain)
Northern District Court of Illinois                                                  Yes
Central District Court of Illinois                                                   Yes
Southern District Court of Illinois                                                  Yes

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SECTION III - DESIGNATION OF LOCAL COUNSEL
Contreas, Christian
 Designee'sName (Last Name, First Name & Middle Initial)
 Law Offices of Christian Contreas, PLC
 Firm/AgencyName
 360 E. 2nd St.                                                    (323) 435-8000                         (323) 597-0101
8th Floor                                                          TelephoneNumber                        Fax Number
Street Address                                                     CC@Contreras-Law.com
 Los Angeles, California 90012                                     Email Address
 City, State, Zip Code                                             330269
                                                                   Designee'sCaliforniaState Bar Number

I hereby consent to the foregoing designation as local connsel, and declare nnder penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.

                Dated   May 22, 2025                               Christian Contreras
                                                                   Designee'sName (pleasetype or print)


                                                                  Designee'sSignature
SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)




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               Case 5:25-cv-00917-SSS-SHK                  Document 12 Filed 05/22/25 Page 3 of 5 Page ID
List all cases in which the applicant has applied to this Court for pro#:84
                                                                        hac vice status in the previous three years (continue in Section IV if
needed):
        CaseNumber                                     Title of Action                            Date of Application       Granted I Denied?




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

           SECTIONII - CERTIFICATION

           I declare under penalty of perjury that:

           (1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
               substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
               Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
               of this Court and maintains an office in the Central District of California for the practice of law, in
               which the attorney is physically present on a regular basis to conduct business, as local counsel
               pursuant to Local Rule 83-2.1.3.4.

                Dated   May 22, 2025                                     Sam Harton
                                                                         Applicant's Name (pleasetype or print)

                                                                          Sahl,     IIad:DJ'v
                                                                         Applicant's Signature


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 Name of Court                            Date of Admission Active Member in Good
                                                            Standing
 Northern District Court of Illinois      November 2022     Yes
 Central District Court of Illinois       November 2022     Yes
 Southern District Court of Illinois      June 2023         Yes
 Eastern District Court of Wisconsin      November 2022     Yes
 Northern District Court of Indiana       August 2023       Yes
 7th Circuit Court of Appeals June 2023   June 2023         Yes
 Illinois State Supreme Court             November 2022     Yes
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